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         FACEBOOK EXHIBIT U

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1                       UNITED STATES DISTRICT COURT
2                      NORTHERN DISTRICT OF CALIFORNIA
3
4    IN RE: FACEBOOK, INC. CONSUMER ) MDL No. 2843
5    PRIVACY USER PROFILE LITIGATION) Case No.
6    _______________________________) 18-md-02843-VC
7    This document relates to:                   )
8    ALL ACTIONS                                 )
9    _______________________________)
10
11
12
13    *** HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY ***
14
15
16     REMOTE VIDEOTAPED DEPOSITION BY VIRTUAL ZOOM OF
17                  FACEBOOK INC. REPRESENTATIVE,
18                   KONSTANTINOS PAPAMILTIADIS
19                   TUESDAY, FEBRUARY 23, 2021
20
21
22   Reported by:
23   Ashala Tylor, CSR #2436, CLR, CRR, RPR
24   JOB NO. 4473154
25   PAGES 1 - 280

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1    BY MS. WEAVER:                                                    10:32

2         Q.   Okay.    Who has it?     You just gave that as          10:32

3    an example.                                                       10:32

4         A.   Yeah, but that is a logic that takes place              10:32

5    on the advertiser's side.                                         10:32

6         Q.   Okay.                                                   10:32

7         A.   The advertiser selects the marketing team               10:32

8    on the advertiser side to decide what kind of                     10:32

9    campaign they want to run.       And they create a                10:33

10   segment of their customers that they want to target               10:33

11   with their ad campaign, and then they will decide                 10:33

12   what creative they want to use, like how the ad is                10:33

13   going to look like.                                               10:33

14        Q.   Right.     But this is a list of information            10:33

15   that Facebook receives, right?                                    10:33

16             MS. STEIN:     Objection to form.                       10:33

17             THE WITNESS:     The information we receive             10:33

18   is not the activities.     It's hashed email addresses            10:33

19   or hashed phone numbers from the advertisers.                     10:33

20   BY MS. WEAVER:                                                    10:33

21        Q.   Okay.    Looking at this chart here, it's               10:33

22   labeled, "What kinds of information does Facebook                 10:33

23   receive?" correct?                                                10:33

24             MS. STEIN:     Objection to form.                       10:33

25             (Background audio interference.)                        10:33

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1                                                                            10:34

2              MS. STEIN:     Objection to form.          The                10:35

3    document speaks for itself.                                             10:35

4              MS. WEAVER:     I'm here to depose him about                  10:35

5    the document, Deb.     It was identified ahead of time.                 10:35

6              Please answer the question.                                   10:35

7              MS. STEIN:     Yeah, Lesley, this document is                 10:35

8    all about targeted advertising, and you've been                         10:35

9    going on for about an hour about targeted                               10:35

10   advertising which isn't even in this case.             It's             10:35

11   outside the scope of this case.                                         10:35

12             MS. WEAVER:     You can instruct him not to                   10:35

13   answer if you want, but I'm actually --                                 10:35

14             MS. STEIN:     Lesley, I've let this witness                  10:35

15   testify for an hour about targeted advertising.               So        10:35

16   if you want to ask him about the scope of this                          10:35

17   deposition, you're free to, but suggesting that just                    10:35

18   because you sent us a document about targeted                           10:35

19   advertising --                                                          10:35

20             MS. WEAVER:     Deb, stop lecturing and                       10:35

21   wasting my minutes with the witness, please.                            10:35

22             MS. STEIN:     Lesley, I am stating my                        10:35

23   position for the record.     This is a 30(b)(6)                         10:35

24   deposition on a specific set of topics.             You've gone         10:35

25   beyond the scope.    I've been very liberal in that.                    10:35

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1         Q.   What does that refer to?                                10:37

2         A.   So this is the version of the SDK that is               10:37

3    used by websites.                                                 10:37

4         Q.   Okay.     And did that change over time?                10:37

5         A.   Yes, we update the SDKs quite regularly.                10:38

6         Q.   Okay.     And "Mobile SDK," what is that?               10:38

7         A.   This is the SDK that is used by native                  10:38

8    apps, meaning iOS and Android.                                    10:38

9         Q.   Okay.     I just want to go back to                     10:38

10                                                                     10:38

11                                                                     10:38

12        A.   I think we discussed about that before.                 10:38

13   So I'll try to repeat my previous response.                       10:38

14                                                                     10:38

15                                                                     10:38

16                                                                     10:38

17        Q.   Okay.     I see that I guess the videographer           10:38

18   would like to take a quick break.        So do you want to        10:38

19   just -- is that comfortable for you, K.P., to take a              10:38

20   break for a little bit here?                                      10:38

21        A.   Yes, I need a coffee.                                   10:38

22             MS. WEAVER:     Okay.   So why don't we come            10:38

23   back at, do you want to say, 10:50?                               10:38

24             THE WITNESS:     10 minutes from now?                   10:38

25             MS. WEAVER:     Yeah, does that work?     Well,         10:39

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